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 1                         UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3
 4
 5
     KLAUBER BROTHERS, INC., a       ) CASE NO.: 2:20-cv-01060-JFW(ASx)
     New York corporation,           )
 6
                                     )
                  PLAINTIFF,         )
 7
                                     ) PROTECTIVE ORDER
                                     )
 8
                                     )
     v.                              )
 9                                   )
                                     )
10                                   )
     URBAN OUTFITTERS, INC.; et al, ))
11                                   )
12                 DEFENDANTS. ))
13                                   )
                                     )
14                                   )

15
16         1. A. PURPOSES AND LIMITATIONS
17         Discovery in this action is likely to involve production of confidential,
18   proprietary, or private information for which special protection from public
19   disclosure and from use for any purpose other than prosecuting this litigation may
20
     be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
21
     enter the following Stipulated Protective Order. The parties acknowledge that this
22
     Order does not confer blanket protections on all disclosures or responses to
23
     discovery and that the protection it affords from public disclosure and use extends
24
     only to the limited information or items that are entitled to confidential treatment
25
     under the applicable legal principles. The parties further acknowledge, as set forth
26
     in Section 12.3, below, that this Stipulated Protective Order does not entitle them
27
28
     to file confidential information under seal; Civil Local Rule 79-5 sets forth the


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 1   procedures that must be followed and the standards that will be applied when a
 2   party seeks permission from the court to file material under seal.
 3
     B. GOOD CAUSE STATEMENT
 4
 5
           This action is likely to involve trade secrets, customer and pricing lists and
 6
     other valuable research, development, commercial, financial, technical and/or
 7
     proprietary information for which special protection from public disclosure and
 8
     from use for any purpose other than prosecution of this action is warranted. Such
 9
     confidential and proprietary materials and information consist of, among other
10
     things, confidential business or financial information, information regarding
11
12
     purchase and sale prices of fabric or garments by suppliers, manufacturers,

13   importers, distributors or fashion retailers, information regarding business

14   practices, information regarding the creation, purchase or sale of graphics used on
15   textiles and garments, or other confidential research, development, or
16   commercial information (including information implicating privacy rights of third
17   parties), information otherwise generally unavailable to the public, or which may
18   be privileged or otherwise protected from disclosure under state or federal statutes,
19   court rules, case decisions, or common law.
20         Moreover, there is good cause for a two-tiered or attorneys-eyes-only
21   designation inclusion in this protective order as certain of the Parties are suppliers,
22
     customers and/or competitors of one another and discovery may include sourcing
23
     information, wholesale prices, product mark-up, overhead, customers, vendors,
24
     manufacturing and other sourcing information and confidential and non-public
25
     financial and business information that the parties would reasonably protect from
26
     customers and/or competitors.
27
28


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 1           Accordingly, to expedite the flow of information, to facilitate the prompt
 2   resolution of disputes over confidentiality of discovery materials, to adequately
 3   protect information the parties are entitled to keep confidential, to ensure that the
 4   parties are permitted reasonable necessary uses of such material in preparation for
 5   and in the conduct of trial, to address their handling at the end of the litigation, and
 6   serve the ends of justice, a protective order for such information is justified in this
 7   matter. It is the intent of the parties that information will not be designated as
 8   confidential for tactical reasons and that nothing be so designated without a good
 9
     faith belief that it has been maintained in a confidential, non-public manner, and
10
     there is good cause why it should not be part of the public
11
     record of this case.
12           The parties acknowledge that this Stipulated Protective Order does not
13   confer blanket protections on all disclosures or responses to discovery and that the
     protection it affords from public disclosure and use extends only to the limited
14
     information or items that are entitled to confidential treatment under the applicable
15   legal principles. Nothing herein shall prevent any Party from withholding or
16   redacting any documents and/or information that the Party deems privileged,
     irrelevant, or otherwise objectionable.
17          Nothing in this Stipulated Protective Order shall be deemed in any way to
18   restrict the use of documents or information which are lawfully obtained or
     publicly available to a party independently of discovery in this Action, whether or
19
     not the same material has been obtained during the course of discovery in the
20   Action and whether or not such documents or information have been designated
21   hereunder. However, in the event of a dispute regarding such independent
     acquisition, a party wishing to use any independently acquired documents or
22   information shall bear the burden of proving independent acquisition.
23
24
     2.          DEFINITIONS
25
     2.1      Action: [this pending federal law suit].
26
27
           2.2 Challenging Party: a Party or Non-Party that challenges the designation of
28
           information or items under this Order.

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 1   2.3       “CONFIDENTIAL” Information or Items: information (regardless of
 2         how it is generated, stored or maintained) or tangible things that qualify for
 3         protection under Federal Rule of Civil Procedure 26(c), and as specified above
 4         in the Good Cause Statement.
 5
     2.4 HIGHLY CONFIDENTIAL”—ATTORNEYS’ EYES ONLY” Information or
 6
           Items: extremely sensitive “CONFIDENTIAL” Information or Items, the
 7
           disclosure of which to another Party or Non-Party would create a substantial
 8
           risk of serious harm that could not be avoided by less restrictive means.
 9
10   2.5 Consultant: A person, including non-party expert and/or consultant, retained or
11         employed by Counsel to assist in the preparation of the case, to the extent that
12         they are reasonably necessary to render professional services in this Action, and
13         subject to the disclosure means requirements within this Stipulated Protective
14         Order.
15
     2.6     Counsel: Outside Counsel of Record and House Counsel (as well as their
16   support staff).
17       2.7 Designating Party: a Party or Non-Party that designates information or
18            items that it produces in disclosures or in responses to discovery as
19            “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’
20            EYES ONLY.”
21   2.8       Disclosure or Discovery Material: all items or information, regardless of
22
           the medium or manner in which it is generated, stored, or maintained
23
           (including, among other things, testimony, transcripts, and tangible things),
24
           that are produced or generated in disclosures or responses to discovery in
25
           this matter.
26
27
28


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 1   2.9 Expert: a person with specialized knowledge or experience in a matter
 2       pertinent to the litigation who has been retained by a Party or its counsel to
 3       serve as an expert witness or as a consultant in this Action.
 4   2.10   House Counsel: attorneys who are employees of a party to this Action.
 5       House Counsel does not include Outside Counsel of Record or any other
 6       outside counsel.
 7   2.11 Non-Party: any natural person, partnership, corporation, association, or
 8   other legal entity not named as a Party to this action.
 9
        2.12      Outside Counsel of Record: attorneys who are not employees of a party

10          to this Action but are retained to represent or advise a party to this Action
11          and have appeared in this Action on behalf of that party or are affiliated with
12          a law firm which has appeared on behalf of that party, and includes
13   support staff.
14      2.13        Party: any party to this Action, including all of its officers, directors,
15          employees, consultants, retained experts, and Outside Counsel of Record
16          (and their support staffs).
17   2.14          Producing Party: a Party or Non-Party that produces Disclosure
18       or Discovery Material in this Action.
19
     2.15          Professional Vendors: persons or entities that provide litigation
20
         support services (e.g., photocopying, videotaping, translating, preparing
21
         exhibits or demonstrations, and organizing, storing, or retrieving data in any
22
         form or medium) and their employees and subcontractors.
23
     2.16          Protected Material: any Disclosure or Discovery Material that is
24
         designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—
25
         ATTORNEYS’ EYES ONLY.”
26
27
     2.17          Receiving Party: a Party that receives Disclosure or Discovery

28       Material from a Producing Party.


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 1   3. SCOPE
          The protections conferred by this Stipulation and Order cover not only
 2
 3
     Protected Material (as defined above), but also (1) any information copied or

 4   extracted from Protected Material; (2) all copies, excerpts, summaries, or

 5   compilations of Protected Material; and (3) any testimony, conversations, or
 6   presentations by Parties or their Counsel that might reveal Protected Material.
 7           Any use of Protected Material at trial shall be governed by the orders of the
 8   trial judge. This Order does not govern the use of Protected Material at trial.
 9
     4. DURATION
10        Even after final disposition of this litigation, the confidentiality obligations
11   imposed by this Order shall remain in effect until a Designating Party agrees
12   otherwise in writing or a court order otherwise directs. Final disposition shall be
13   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
14
     with or without prejudice; and (2) final judgment herein after the completion and
15
     exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
16
     including the time limits for filing any motions or applications for extension of time
17
     pursuant to applicable law.
18
           The use of Designated Materials at depositions or trial does not void the
19
     documents’ status as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
20
     ATTORNEYS’ EYES ONLY” material or void the restrictions on the use of the
21
22
     Designated Materials. Upon request of a party, the parties shall meet and confer

23   concerning the use and protection of Designated Material in open court at any
24   hearing.
25         At deposition, the party using Designated Material must request that the
26   portion of the proceeding where use of the Designated Material is made be
27   conducted so as to exclude persons not qualified to receive such Designated
28   Material.

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 1         Prior to the pretrial conference, the parties shall meet and confer concerning
 2   appropriate methods for dealing with Designated Material at trial.
 3
 4       5.     DESIGNATING PROTECTED MATERIAL
 55.1 Exercise of Restraint and Care in Designating Material for Protection. Each Party
 6   or Non-Party that designates information or items for protection under this Order
 7   must take care to limit any such designation to specific material that qualifies under
 8   the appropriate standards. The Designating Party must designate for protection only
 9   those parts of material, documents, items, or oral or written communications that
10   qualify so that other portions of the material, documents, items, or communications
11   for which protection is not warranted are not swept unjustifiably within the ambit
12   of this Order.
13
           If it comes to a Designating Party’s attention that information or items that
14
     it designated for protection do not qualify for protection, that Designating Party
15
     must promptly notify all other Parties that it is withdrawing the inapplicable
16
     designation.
17
           5.2 Manner and Timing of Designations. Except as otherwise provided in
18
     this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
19
     stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
20
21   under this Order must be clearly so designated before the material is disclosed or

22   produced.
23         Designation in conformity with this Order requires:
24         (a) for information in documentary form (e.g., paper or electronic
25             documents, but excluding transcripts of depositions or other pretrial or
26             trial proceedings), that the Producing Party affix at a minimum, the
27             legend    “CONFIDENTIAL”            or   “HIGHLY       CONFIDENTIAL-
28             ATTORNEYS’ EYES ONLY, to each page that contains protected

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 1             material. If only a portion or portions of the material on a page qualifies
 2             for protection, the Producing Party also must clearly identify the
 3             protected portion(s) (e.g., by making appropriate markings in the
 4             margins).
 5
 6         A Party or Non-Party that makes original documents available for inspection
 7   need not designate them for protection until after the inspecting Party has indicated
 8   which documents it would like copied and produced. During the inspection and
 9   before the designation, all of the material made available for inspection shall be
10   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
11   documents it wants copied and produced, the Producing Party must determine
12   which documents, or portions thereof, qualify for protection under this Order.
13
     Then, before producing the specified documents, the Producing Party must affix
14
     the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–ATTORNEYS’ EYES
15
     ONLY” legend to each page that contains Protected Material. If only a portion or
16
     portions of the material on a page qualifies for protection, the Producing Party also
17
     must clearly identify the protected portion(s) (e.g., by making appropriate markings
18
     in the margins).
19
        (b)    for testimony given in depositions that the Designating Party identify the
20
21             Disclosure or Discovery Material on the record, before the close of the

22             deposition all protected testimony.
23         (c) for information produced in some form other than documentary and
24   for any other tangible items, that the Producing Party affix in a prominent place on
25   the exterior of the container or containers in which the information is stored the
26   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–ATTORNEYS’
27   EYES ONLY” If only a portion or portions of the information warrants
28   protection, the Producing Party, to the extent practicable, shall identify the protected

                                                8
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 1   portion(s).
            5.3 Inadvertent Failures to Designate. If corrected, an inadvertent failure to
 2
 3
                designate qualified information or items does not, standing alone, waive

 4              the Designating Party’s right to secure protection under this Order for

 5              such material. Upon timely correction of a designation, the Receiving
 6              Party must make reasonable efforts to assure that the material is treated
 7              in accordance with the provisions of this Order.
 8          5.4 Within five (5) business days of receipt of the substitute copies, the
 9              receiving party shall return the previously unmarked or mismarked items
10
                and all copies thereof.
11
            5.5 Copies. All complete or partial copies of a document that disclose
12
                Designated Materials shall be subject to the terms of this Stipulated
13
                Protective Order.
14
15          5.6 Unless and until otherwise ordered by the Court or agreed to in writing
16              by the parties, all Designated Materials designated under this Stipulated
17              Protective Order shall be used by the parties and persons receiving such
18              Designated Materials solely for conducting the above-captioned
19              litigation and any appellate proceeding relating thereto. Designated
20              Material shall not be used by any party or person receiving them for any
21              business or any other purpose.      No party or person shall disclose
22              Designated Material to any other party or person not entitled to receive
23
                such Designated Material under the specific terms of this Stipulated
24
                Protective Order. For purposes of this Stipulated Protective Order,
25
                “disclose” or “disclosed” means to show, furnish, reveal or provide,
26
                indirectly or directly, any portion of the Designated Material or its
27
28


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  1             contents, orally or in writing, including the original or any copy of the
  2             Designated Material.
  3   6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  4        6.1 Timing of Challenges. Any Party or Non-Party may challenge a

  5            designation of confidentiality at any time that is consistent with the
  6            Court’s Scheduling Order.
  7         6.2 Meet and Confer. The Challenging Party shall initiate the informal
  8            dispute resolution process set forth in the Court's Procedures and
  9            Schedules. see http://www.cacd.uscourts.gov/honorable-alka-sagar
 10
            6.3 The burden of persuasion in any such challenge proceeding shall be on
 11
               the Designating Party. Frivolous challenges, and those made for an
 12
               improper purpose (e.g., to harass or impose unnecessary expenses and
 13
               burdens on other parties) may expose the Challenging Party to
 14
               sanctions. Unless the Designating Party has waived or withdrawn the
 15
 16
               confidentiality designation, all parties shall continue to afford the

 17            material in question the level of protection to which it is entitled under
 18            the Producing Party’s designation until the Court rules on the challenge.
 19     7   ACCESS TO AND USE OF PROTECTED MATERIAL
 20     7.1 Basic Principles. A Receiving Party may use Protected Material that is
 21         disclosed or produced by another Party or by a Non-Party in connection
 22         with this Action only for prosecuting, defending, or attempting to settle this
 23
            Action. Such Protected Material may be disclosed only to the categories of
 24
            persons and under the conditions described in this Order. When the Action
 25
            has been terminated, a Receiving Party must comply with the provisions of
 26
            section 13 below (FINAL DISPOSITION).
 27
 28


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  1         Protected Material must be stored and maintained by a Receiving Party at a
  2   location and in a secure manner that ensures that access is limited to the
  3   persons authorized under this Order.
  4         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless

  5   otherwise ordered by the court or permitted in writing by the Designating Party, a
  6   Receiving    Party   may    disclose     any   information   or   item   designated
  7   “CONFIDENTIAL” only to:
  8         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
  9            employees of said Outside Counsel of Record to whom it is reasonably
 10            necessary to disclose the information for this Action;
 11         (b) the officers, directors, and employees (including House Counsel) of
 12   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 13
            (c) Experts (as defined in this Order) of the Receiving Party to whom
 14
      disclosure is reasonably necessary for this Action and who have signed the
 15
      “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 16
            (d) the court and its personnel;
 17
            (e) court reporters and their staff;
 18
            (f) professional jury or trial consultants, mock jurors, and Professional
 19
 20
      Vendors to whom disclosure is reasonably necessary for this Action and who have

 21   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 22         (g) during their depositions, witnesses, and attorneys for witnesses, in the
 23   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 24   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
 25   will not be permitted to keep any confidential information unless they sign the
 26   “Acknowledgment and Agreement to Be Bound” (Exhibit A), and the Designating
 27   Party authorizes same or if ordered by the court. Pages of transcribed deposition
 28


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  1   testimony or exhibits to depositions that reveal Protected Material may be
  2   separately bound by the court reporter and may not be disclosed to anyone except
  3   as permitted under this Stipulated Protective Order; and
  4         (h) any mediator or settlement officer, and their supporting personnel,

  5   mutually agreed upon by any of the parties engaged in settlement discussions.
  6         7.3          Disclosure of “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
  7   ONLY” Information or Items.
  8               Unless otherwise ordered by the Court or permitted in writing by the
  9   Designating Party, a Receiving Party may disclose any information or item
 10   designated “HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY” only
 11   to:
 12               i.           The Receiving Party’s Outside Counsel of Record in this
 13
                               Action, as well as employees of said Outside Counsel of
 14
                               Record to whom it is reasonably necessary to disclose the
 15
                               information for this Action;
 16
                  ii.          Experts (as defined in this Order) of the Receiving Party to
 17
                               whom disclosure is reasonably necessary for this Action and
 18
                               who have signed the “Acknowledgment and Agreement to
 19
                               Be Bound” (Exhibit A);
 20
                  iii.         The Court and its personnel;
 21
 22
                  iv.          Court reporters and their staff;

 23               v.           Professional jury or trial consultants, mock jurors, and

 24                            Professional Vendors to whom disclosure is reasonably
 25                            necessary for this Action and who have signed the
 26                            “Acknowledgment and Agreement to Be Bound” (Exhibit
 27                            A);
 28               vi.          Any mediator or settlement officer, and their supporting

                                                   12
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  1                        personnel, mutually agreed upon by any of the parties engaged
                           in settlement discussions.
  2
  3      7.4       Use of Designated Materials by Designating Party. Nothing in this
  4   Stipulated Protective Order shall limit a Designating Party’s use of its own
  5   information or materials, or prevent a Designating Party from disclosing its own
  6   information or materials to any person. Such disclosure shall not affect any
  7   designations made pursuant to the terms of this Stipulated Protective Order, so
  8   long as the disclosure is made in a manner that is reasonably calculated to
  9
      maintain the confidentiality of the information.
 10
            8. PROTECTED MATERIAL SUBPOENAED OR ORDERED
 11
               PRODUCED IN OTHER LITIGATION
 12
            If a Party is served with a subpoena or a court order issued in other litigation
 13
      that compels disclosure of any information or items designated in this Action as
 14
      “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
 15
      ONLY” that Party must:
 16
 17
            (a) promptly notify in writing the Designating Party. Such notification shall

 18   include a copy of the subpoena or court order;

 19         (b) promptly notify in writing the party who caused the subpoena or order
 20   to issue in the other litigation that some or all of the material covered by the
 21   subpoena or order is subject to this Protective Order. Such notification shall include
 22   a copy of this Stipulated Protective Order and shall object to the production of such
 23   materials on the grounds of the existence of this Order; and
 24         (c) cooperate with respect to all reasonable procedures sought to be pursued
 25   by the Designating Party whose Protected Material may be affected.
 26
      At the request of the party or non-party who produced or designated the material as
 27   Confidential Material, the Receiving Party shall refuse to comply with the Demand
 28
      unless (a) ordered to do so by a court with jurisdiction over the Receiving Party; or
      (b) released in writing by the party or non-party who designated the material as

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  1   confidential. The burden of opposing the enforcement of the Demand shall fall
      upon the party or non-party who produced or designated the material as
  2   Confidential Material. Compliance by the Receiving Party with any order of a
  3   court of competent jurisdiction, directing production of any Confidential Material,
      shall not constitute a violation of this Order.
  4
  5
      9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  6   PRODUCED IN THIS LITIGATION
  7      (a) The terms of this Order are applicable to information produced by a Non-
  8             Party   in this Action and designated as “CONFIDENTIAL.” Such
  9             information produced by Non-Parties in connection with this litigation
 10             is protected by the remedies and relief provided by this Order. Nothing
 11             in these provisions should be construed as prohibiting a Non-Party from
 12             seeking additional protections.
 13
            (b) In the event that a Party is required, by a valid discovery request, to
 14
      produce a Non-Party’s confidential information in its possession, and the Party is
 15
      subject to an agreement with the Non-Party not to produce the Non-Party’s
 16
      confidential information, then the Party shall:
 17
            (1) promptly notify in writing the Requesting Party and the Non-Party that
 18
      some or all of the information requested is subject to a confidentiality agreement
 19
      with a Non-Party;
 20
 21         (2) promptly provide the Non-Party with a copy of the Stipulated Protective

 22   Order in this Action, the relevant discovery request(s), and a reasonably specific
 23   description of the information requested; and
 24      (3)At the request of the party or non-party who produced or designated the
 25   material as Confidential Material, the Receiving Party shall refuse to comply with
 26   the Demand unless (a) ordered to do so by a court with jurisdiction over the
 27   Receiving Party; or (b) released in writing by the party or non-party who designated
 28
      the material as confidential. The burden of opposing the enforcement of the

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  1   Demand shall fall upon the party or non-party who produced or designated the
  2   material as Confidential Material. Compliance by the Receiving Party with any
  3   order of a court of competent jurisdiction, directing production of any Confidential
  4   Material, shall not constitute a violation of this Order.
  5
  6   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  7        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  8   Protected Material to any person or in any circumstance not authorized under this
  9   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 10   writing the Designating Party of the unauthorized disclosures, (b) use its best
 11   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
 12   person or persons to whom unauthorized disclosures were made of all the terms of
 13   this Order, and (d) request such person or persons to execute the “Acknowledgment
 14   and Agreement to Be Bound” that is attached hereto as Exhibit A.
 15
 16
      11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 17
      PROTECTED MATERIAL
 18
            When a Producing Party gives notice to Receiving Parties that certain
 19
      inadvertently produced material is subject to a claim of privilege or other
 20
      protection, the obligations of the Receiving Parties are those set forth in Federal
 21
      Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
 22
      whatever procedure may be established in an e-discovery order that provides for
 23
 24   production without prior privilege review. Pursuant to Federal Rule of Evidence

 25   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
 26   of a communication or information covered by the attorney-client privilege or work
 27   product protection, the parties may incorporate their agreement in the stipulated
 28   protective order submitted to the court.

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  1   12. MISCELLANEOUS
      12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  2
      person to seek its modification by the Court in the future.
  3
            12.2 Right to Assert Other Objections. By stipulating to the entry of this
  4
      Protective Order no Party waives any right it otherwise would have to object to
  5
  6   disclosing or producing any information or item on any ground not addressed in
      this
  7   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  8
      ground to use in evidence of any of the material covered by this Protective Order.
  9
            12.3 Filing Protected Material. A Party that seeks to file under seal any
 10
      Protected Material must comply with Civil Local Rule 79-5. Protected Material
 11
      may only be filed under seal pursuant to a court order authorizing the sealing of the
 12
      specific Protected Material at issue. If a Party's request to file Protected Material
 13
      under seal is denied by the court, then the Receiving Party may file the information
 14
      in the public record unless otherwise instructed by the court.
 15
 16         If a filing party fails to seek to file under seal items which a party in good

 17   faith believes to have been designated as or to constitute “CONFIDENTIAL” or
 18   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” material, such
 19   party may move the Court to file said information under seal within five (5)
 20   business days of service of the original filing. Notice of such designation shall be
 21   given to all parties. Nothing in this provision relieves a party of liability for
 22   damages caused by failure to properly seek the filing of Designated Material under
 23   seal in accordance with Local Rule 79-5.2.2. Filing the document under seal shall
 24   not bar any party from unrestricted use or dissemination of those portions of the
 25
      document that do not contain material designated “CONFIDENTIAL” or
 26
      “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 27
 28


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  1         12.4 Unless the parties stipulate otherwise, evidence of the existence or
  2   nonexistence of a designation under this Stipulated Protective Order shall not be
  3   admissible for any purpose during any proceeding on the merits of this Action.
  4         12.5 By stipulating to the entry of this Stipulated Protective Order no Party
  5   waives any right it otherwise would have to object to disclosing or producing any
  6   information or item on any ground not addressed in this Stipulated Protective
  7   Order. Similarly, no Party waives any right to object on any ground to use in
  8   evidence any of the material covered by this Stipulated Protective Order.
  9
      Moreover, this Stipulated Protective Order shall not preclude or limit any Party’s
 10
      right to seek further and additional protection against or limitation upon production
 11
      of documents produced in response to discovery. The parties reserve their rights
 12
      to object to, redact or withhold any information, including confidential, proprietary,
 13
      or private information, on any other applicable grounds permitted by law, including
 14
      third-party rights and relevancy.
 15
 16   13. FINAL DISPOSITION
 17         After the final disposition of this Action, as defined in paragraph 4, within
 18   60 days of a written request by the Designating Party, each Receiving Party must
 19   return all Protected Material to the Producing Party or destroy such material
 20   provided that no party will be required to expunge any system back-up media such
 21   as copies of any computer records or files containing Protected Material which have
 22   been created pursuant to automatic archiving or back-up procedures on secured
 23   central storage servers and which cannot reasonably be expunged, and further
 24
      provided that any destruction does not destroy or affect the destroying party’s
 25
      computer programs, hardware, software, servers, or the like. As used in this
 26
      subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 27
      summaries, and any other format reproducing or capturing any of the Protected
 28
      Material. Whether the Protected Material is returned or destroyed, the Receiving
                                                17
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  1   Party must submit a written certification to the Producing Party (and, if not the
  2   same person or entity, to the Designating Party) by the 60 day deadline that (1)
  3   identifies (by category, where appropriate) all the Protected Material that was
  4   returned or destroyed and (2)affirms that the Receiving Party has not retained any
  5   copies, abstracts, compilations, summaries or any other format reproducing or
  6   capturing any of the Protected Material. Notwithstanding this provision, Counsel
  7   are entitled to retain an archival copy of all pleadings, motion papers, trial,
  8   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
  9
      and trial exhibits, expert reports, attorney work product, and consultant and expert
 10
      work product, even if such materials contain Protected Material. Any such archival
 11
      copies that contain or constitute Protected Material remain subject to this Protective
 12
      Order as set forth in Section 4 (DURATION).
 13
 14
      14. Any willful violation of this Order may be punished by any and all
 15
      appropriate measures including, without limitation, contempt proceedings and/or
 16
      monetary sanctions.
 17
 18   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 19
 20   DATED:       September 21, 2020
 21
 22         / s / Trevor Barrett
 23   Attorneys for Plaintiff

 24
 25   DATED:       September 21, 2020
 26
 27
            / s / Todd M. Lander
 28
      Attorneys for Defendant

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  1
  2
  3   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  4
               October 2, 2020
      DATED: _________________________
  5
  6
                 / s / Sagar
      ____________________________________________
  7
      Honorable Alka Sagar
  8   United States Magistrate Judge
  9
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  1                             EXHIBIT A
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  2
  3   I, ________________________________ [print or type full name], of
  4
                            [print or type full address], declare under penalty of perjury that
  5
      I have read in its entirety and understand the Stipulated Protective Order that was
  6
      issued by the United States District Court for the Central District of California on
  7
      [date] in the case of Klauber Brothers, Inc., a New York corporation v. Urban
  8
      Outfitters, Inc.; et al, Case No. 2:20-cv-01060-JFW(ASx). I agree to comply with and
  9
      to be bound by all the terms of this Stipulated Protective Order and I understand and
 10
      acknowledge that failure to so comply could expose me to sanctions and punishment
 11
 12
      in the nature of contempt. I solemnly promise that I will not disclose in any manner

 13
      any information or item that is subject to this Stipulated Protective Order to any person

 14   or entity except in strict compliance with the provisions of this Order.

 15   I further agree to submit to the jurisdiction of the United States District Court for the

 16   Central District of California for the purpose of enforcing the terms of this Stipulated

 17   Protective Order, even if such enforcement proceedings occur after termination of this
 18   action. I hereby appoint ______________________[print or type full name] of
 19   _____________________________ [print or type full address and telephone number]
 20   as my California agent for service of process in connection with this action or any
 21   proceedings related to enforcement of this Stipulated Protective Order.
 22   Date: ____________________________
 23   City and State where sworn and signed: ___________________________
 24
      Printed name: ______________________________
 25
 26   Signature: ____________________________
 27
 28


                                                 20
